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 8                                  UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                        No. 2:14-CR-00220 KJM
12                     Plaintiff,
13          v.                                        ORDER
14   YETING LU,
15                     Defendant.
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18                  On March 25, 2015, the court held a status conference in this case. See Minutes,

19   ECF No. 104. A Cantonese language interpreter was present, but due to defense counsel’s

20   erroneous belief the conference had been continued, both he and defendant Lu were absent. See

21   Minute Order, ECF No. 105. The court incurred the cost of the interpreter despite defendant Lu’s

22   absence. Id. Defense counsel for Mr. Lu was ordered to show cause within seven days why he

23   should not be ordered to pay the costs of the interpreter. Id. Counsel has not responded.

24                  “The district court’s authority to sanction counsel is undoubted.” United States v.

25   Blodgett, 709 F.2d 608, 610 (9th Cir. 1983). Nevertheless, sanctions “should not be assessed

26   lightly or without fair notice and an opportunity for a hearing on the record.” Roadway Exp., Inc.

27   v. Piper, 447 U.S. 752, 767 (1980). And “[f]or a sanction to be validly imposed, the conduct in

28   question must in fact be sanctionable under the authority relied upon.” United States v.
                                                     1
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 1   Stoneberger, 805 F.2d 1391, 1392 (9th Cir. 1986). Violations of this District’s local rules and
 2   court orders may be grounds for sanctions. E.D. Cal. L.R. 110. “Unjustified failure to timely
 3   notify the staff court interpreters of the need for an interpreter or of a cancelled or rescheduled
 4   hearing may result in sanctions, including an order to pay the cost of interpreter services.” E.D.
 5   Cal. L.R. 403(e). Had counsel complied with this rule, the defendant would have been present at
 6   the hearing, or the hearing would have been continued. Although counsel appeared
 7   telephonically at the March 25th status, and seemed to take responsibility for the interpreter costs,
 8   he has not responded to the court’s order to show cause. He is ordered to pay the costs of the
 9   interpreter’s services at the hearing.
10                  IT IS SO ORDERED.
11   DATED: April 21, 2015.
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13                                                     UNITED STATES DISTRICT JUDGE
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